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                               EXHIBIT 12
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                                                                            PII




Account:                                    Account:
Amount: 691.00                              Amount: 691.00
PostDate: 20180716                          PostDate: 20180716
Tran_ID: 524305906                          Tran_ID: 524305906
CheckNum: 73444                             CheckNum: 73444
DIN: 524306076                              DIN: 524306076
ReturnReasonCode:                           ReturnReasonCode:
ReturnReasonDescription:                    ReturnReasonDescription:
Orig_DIN: 524306076                         Orig_DIN: 524306076
ECEItemSeqNum: 3775067918                   ECEItemSeqNum: 3775067918




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Account:                                    Account:
Amount: 567.00                              Amount: 567.00
PostDate: 20180716                          PostDate: 20180716
Tran_ID: 524305906                          Tran_ID: 524305906
CheckNum: 73568                             CheckNum: 73568
DIN: 524306811                              DIN: 524306811
ReturnReasonCode:                           ReturnReasonCode:
ReturnReasonDescription:                    ReturnReasonDescription:
Orig_DIN: 524306811                         Orig_DIN: 524306811
ECEItemSeqNum: 3775106813                   ECEItemSeqNum: 3775106813




Account:                                    Account:
Amount: 682.00                              Amount: 682.00
PostDate: 20180716                          PostDate: 20180716
Tran_ID: 524305906                          Tran_ID: 524305906
CheckNum: 73543                             CheckNum: 73543
DIN: 524306816                              DIN: 524306816
ReturnReasonCode:                           ReturnReasonCode:
ReturnReasonDescription:                    ReturnReasonDescription:
Orig_DIN: 524306816                         Orig_DIN: 524306816
ECEItemSeqNum: 3775106815                   ECEItemSeqNum: 3775106815



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Account:                                    Account:
Amount: 771.00                              Amount: 771.00
PostDate: 20180716                          PostDate: 20180716
Tran_ID: 524305906                          Tran_ID: 524305906
CheckNum: 73571                             CheckNum: 73571
DIN: 524306821                              DIN: 524306821
ReturnReasonCode:                           ReturnReasonCode:
ReturnReasonDescription:                    ReturnReasonDescription:
Orig_DIN: 524306821                         Orig_DIN: 524306821
ECEItemSeqNum: 3775106816                   ECEItemSeqNum: 3775106816




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